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 1                             CORRECTED CERTIFICATE OF SERVICE

 2          Pursuant to Rule 5-5 of the Civil Local Rules of the United States District Court for the

 3   Northern District of California, I hereby certify under penalty of perjury under the laws of the United

 4   States of America that on June 27, 2018, a true copy of the below documents were served upon

 5   Samsung’s counsel of record via the email address QE_Huaweiv.Samsung@quinnemanuel.com.

 6
        •   PLAINTIFFS’ UPDATED ELECTION OF ASSERTED CLAIMS & ACCUSED
 7          PRODUCTS PURSUANT TO COURT’S CASE MANAGEMENT ORDERS
 8

 9   DATED: June 27, 2018                  SIDLEY AUSTIN LLP

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                                                   /s/ Michael E. Braud
11                                                 Michael E. Braud
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                                        CORRECTED CERTIFICATE OF SERVICE
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